          Case: 22-2370
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                                              May 9, 2024


Hon. Christopher Conway
Clerk of the Court
U.S. Court of Appeals for the Seventh Circuit
219 S. Dearborn St,
Chicago, IL 60604

        Re:      Rule 28(j) letter in Nos. 22-2370, 22-2413
                 Motorola Solutions, Inc., et al., v. Hytera Communications Corporation Ltd.

Dear Mr. Conway,

      We write to advise the Court of the U.S. Supreme Court’s newly issued decision in Warner
Chappell Music, Inc. v. Nealy, 601 U.S. ___, 2024 WL 2061137 (May 9, 2024) (Exhibit A).

         In its briefing before this Court, Hytera argued that Motorola could recover damages under
the Copyright Act only for violations committed within three years of the date when Motorola
filed its copyright claim. E.g., Hytera Br. 67-71. As Hytera explained, this proposition followed
from the Supreme Court’s decision in Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 633
(2014)—as the Second Circuit squarely held in Sohm v. Scholastic Inc., 959 F.3d 39, 51 (2d Cir.
2020).

       However, in today’s Warner Chappell decision, the Supreme Court rejected this reading
of Petrella, abrogated the Second Circuit’s decision in Sohm, and held that, where a copyright
claim is timely under the discovery rule, there is no separate three-year look-back limitation on
damages. See slip op., at 1, 4-7.
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                                         Respectfully submitted,

                                         /s/ Boyd Cloern
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cc:   All counsel of record
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                   CERTIFICATES OF SERVICE AND COMPLIANCE

        I hereby certify that this filing is 156 words, and therefore complies with the word
limitations of Federal Rule of Appellate Procedure and this Circuit’s local rules.

       I hereby certify that on May 9, 2024, I electronically filed the foregoing letter brief with
the Clerk of the Court by using the appellate CM/ECF system. Counsel of record are registered
CM/ECF users.

                                                            /s/ Boyd Cloern_____________
                                                            Boyd Cloern
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                 EXHIBIT A
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      (Slip Opinion)              OCTOBER TERM, 2023                                        1

                                             Syllabus

               NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
             being done in connection with this case, at the time the opinion is issued.
             The syllabus constitutes no part of the opinion of the Court but has been
             prepared by the Reporter of Decisions for the convenience of the reader.
             See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


      SUPREME COURT OF THE UNITED STATES

                                             Syllabus

        WARNER CHAPPELL MUSIC, INC., ET AL. v. NEALY
                        ET AL.

      CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                      THE ELEVENTH CIRCUIT

          No. 22–1078. Argued February 21, 2024—Decided May 9, 2024
      Under the Copyright Act, a plaintiff must file suit “within three years
       after the claim accrued.” 17 U. S. C. §507(b). On one understanding
       of that limitations provision, a copyright claim “accrue[s]” when “an
       infringing act occurs.” Petrella v. Metro-Goldwyn-Mayer, Inc., 572
       U. S. 663, 670. But under an alternative view, the so-called discovery
       rule, a claim accrues when “the plaintiff discovers, or with due dili-
       gence should have discovered,” the infringing act. Ibid., n. 4. That
       rule enables a diligent plaintiff to raise claims about even very old in-
       fringements if he discovered them within the three years prior to suit.
       In this case, respondent Sherman Nealy invoked the discovery rule to
       sue Warner Chappell Music for copyright infringements going back ten
       years. Nealy argued that his claims were timely because he first
       learned of the infringing conduct less than three years before he sued.
       In the District Court, Warner Chappell accepted that the discovery
       rule governed the timeliness of Nealy’s claims. But it argued that,
       even if Nealy could sue under that rule for older infringements, he
       could recover damages or profits for only those occurring in the last
       three years. The District Court agreed. On interlocutory appeal, the
       Eleventh Circuit reversed, rejecting the notion of a three-year dam-
       ages bar on a timely claim.
      Held: The Copyright Act entitles a copyright owner to obtain monetary
       relief for any timely infringement claim, no matter when the infringe-
       ment occurred. The Act’s statute of limitations establishes a three-
       year period for filing suit, which begins to run when a claim accrues
       (here, the Court assumes without deciding, upon its discovery). That
       provision establishes no separate three-year limit on recovering dam-
       ages. If any time limit on damages exists, it must come from the Act’s
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                                        Syllabus

          remedial sections. But those provisions merely state that an infringer
          is liable either for statutory damages or for the owner’s actual damages
          and the infringer’s profits. See §504(a)–(c). There is no time limit on
          monetary recovery. So a copyright owner possessing a timely claim is
          entitled to damages for infringement, no matter when the infringe-
          ment occurred.
             The Court’s decision in Petrella also does not support a three-year
          damages cap. There, the Court noted that the Copyright Act’s statute
          of limitations allows plaintiffs “to gain retrospective relief running
          only three years back from” the filing of a suit. 572 U. S., at 672.
          Taken out of context, that line might seem to address the issue here.
          But that statement merely described how the limitations provision
          worked in Petrella, where the plaintiff had long known of the defend-
          ant’s infringing conduct and so could not avail herself of the discovery
          rule to sue for infringing acts more than three years old. The Court
          did not go beyond the case’s facts to say that even if the limitations
          provision allows a claim for an earlier infringement, the plaintiff may
          not obtain monetary relief.
             Unlike the plaintiff in Petrella, Nealy has invoked the discovery rule
          to bring claims for infringing acts occurring more than three years be-
          fore he filed suit. The Court granted certiorari in this case on the as-
          sumption that such claims may be timely under the Act’s limitations
          provision. If Nealy’s claims are thus timely, he may obtain damages
          for them. Pp. 4–7.
      60 F. 4th 1325, affirmed.

         KAGAN, J., delivered the opinion of the Court, in which ROBERTS, C. J.,
      and SOTOMAYOR, KAVANAUGH, BARRETT, and JACKSON, JJ., joined. GOR-
      SUCH, J., filed a dissenting opinion, in which THOMAS and ALITO, JJ.,
      joined.
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                              Cite as: 601 U. S. ____ (2024)                               1

                                   Opinion of the Court

           NOTICE: This opinion is subject to formal revision before publication in the
           United States Reports. Readers are requested to notify the Reporter of
           Decisions, Supreme Court of the United States, Washington, D. C. 20543,
           pio@supremecourt.gov, of any typographical or other formal errors.


      SUPREME COURT OF THE UNITED STATES
                                         _________________

                                         No. 22–1078
                                         _________________


             WARNER CHAPPELL MUSIC, INC., ET AL.,
             PETITIONERS v. SHERMAN NEALY, ET AL.
       ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                APPEALS FOR THE ELEVENTH CIRCUIT
                                        [May 9, 2024]

         JUSTICE KAGAN delivered the opinion of the Court.
         The Copyright Act’s statute of limitations provides that a
      copyright owner must bring an infringement claim within
      three years of its accrual. See 17 U. S. C. §507(b). In this
      case, we assume without deciding that a claim is timely un-
      der that provision if brought within three years of when the
      plaintiff discovered an infringement, no matter when the
      infringement happened. We then consider whether a claim
      satisfying that rule is subject to another time-based limit—
      this one, preventing the recovery of damages for any in-
      fringement that occurred more than three years before a
      lawsuit’s filing. We hold that no such limit on damages ex-
      ists. The Copyright Act entitles a copyright owner to re-
      cover damages for any timely claim.
                                                I
        This dispute had its start in a decades-old, short-lived
      music venture. In 1983, Sherman Nealy and Tony Butler
      formed Music Specialist, Inc. That company recorded and
      released one album and several singles, including the works
      at issue. But the collaboration dissolved a few years later.
      And Nealy soon afterward went to prison for drug-related
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                            Opinion of the Court

      offenses. He served one prison term from 1989 to 2008, and
      another from 2012 to 2015.
         Meanwhile, Butler (unbeknownst to Nealy) entered into
      an agreement with Warner Chappell Music, Inc. to license
      works from the Music Specialist catalog. And Warner
      Chappell found quite a few takers. One Music Specialist
      work (“Jam the Box”) was interpolated into Flo Rida’s hit
      song “In the Ayer,” which sold millions of copies and
      reached No. 9 on the Billboard chart. Use of that song was
      in turn licensed to several popular television shows, includ-
      ing “So You Think You Can Dance.” Other Music Specialist
      songs found their way into recordings by the Black Eyed
      Peas and Kid Sister.
         In 2018, following his second prison stint, Nealy sued
      Warner Chappell for copyright infringement. Nealy alleged
      that he held the copyrights to Music Specialist’s songs and
      that Warner Chappell’s licensing activities infringed his
      rights. The infringing activity, Nealy claimed, dated back
      to 2008—so ten years before he brought suit. Nealy sought
      damages and profits for the alleged misconduct, as the Cop-
      yright Act authorizes. See §504.
         For his claims to proceed, Nealy had to show they were
      timely. Under the Copyright Act, a plaintiff must file suit
      “within three years after the claim accrued.” §507(b). On
      one understanding of that limitations provision, a copyright
      claim “accrue[s]” when “an infringing act occurs.” Petrella
      v. Metro-Goldwyn-Mayer, Inc., 572 U. S. 663, 670 (2014). So
      a plaintiff can complain about infringements going back
      only three years from the time he filed suit. If that rule
      governed, many of Nealy’s claims would be untimely, be-
      cause they alleged infringements occurring as much as ten
      years earlier. But under an alternative view of the Act’s
      limitations provision, a claim accrues when “the plaintiff
      discovers, or with due diligence should have discovered,”
      the infringing act. Ibid., n. 4. That so-called discovery rule,
      used in the Circuit where Nealy sued, enables a diligent
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      plaintiff to raise claims about even very old infringements
      if he discovered them within the prior three years. Nealy
      urged that all his claims were timely under that rule be-
      cause he did not learn of Warner Chappell’s infringing con-
      duct until 2016—just after he got out of prison and less than
      three years before he sued.
         In the District Court, though, Nealy ran into a different
      timing objection, related not to his ability to bring suit but
      to his recovery of damages. Warner Chappell accepted that
      the discovery rule governed the timeliness of Nealy’s
      claims. But it argued that even if Nealy could sue under
      that rule for infringements going back ten years, he could
      recover damages or profits for only those occurring in the
      last three. The District Court agreed. Relying on a decision
      from the Second Circuit, the court held that even when
      claims for old infringements are timely, monetary relief is
      “limited” to “the three years prior to the filing” of the action.
      App. to Pet. for Cert. 26a (citing Sohm v. Scholastic Inc.,
      959 F. 3d 39, 51–52 (CA2 2020)). So Nealy could bring
      claims for infringing acts beyond that three-year period, but
      could not recover any money for them. Appreciating the
      impact of that ruling, the District Court certified it for in-
      terlocutory appeal. See App. to Pet. for Cert. 36a; 28
      U. S. C. §1292(b).
         The Court of Appeals for the Eleventh Circuit reversed,
      rejecting the notion of a three-year damages bar on a timely
      claim. The court “assume[d] for the purposes of answering”
      the certified question that all of Nealy’s claims were “timely
      under the discovery rule.” 60 F. 4th 1325, 1331 (2023). And
      on that assumption, the court ruled, he could recover full
      damages. Allying itself with the Ninth rather than the Sec-
      ond Circuit, the court held that a plaintiff with a timely
      claim under the discovery rule may obtain “retrospective
      relief for [an] infringement” even if it “occurr[ed] more than
      three years before the lawsuit’s filing.” Ibid. (citing Starz
      Entertainment v. MGM, 39 F. 4th 1236, 1244 (CA9 2022)).
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                            Opinion of the Court

      “[T]he plain text of the Copyright Act,” the Eleventh Circuit
      stated, “does not support the existence of a separate dam-
      ages bar for an otherwise timely copyright claim.” 60
      F. 4th, at 1334. And imposing such a bar, the court rea-
      soned, “would gut the discovery rule by eliminating any
      meaningful relief ” for the very claims it is designed to pre-
      serve. Ibid.
        We granted certiorari, 600 U. S. ___ (2023), to resolve the
      Circuit split noted above, and we now affirm the Eleventh
      Circuit’s decision.
                                     II
         The question on which this Court granted certiorari is
      “[w]hether, under the discovery accrual rule applied by the
      circuit courts,” a copyright plaintiff “can recover damages
      for acts that allegedly occurred more than three years be-
      fore the filing of a lawsuit.” Ibid. That question, which the
      Court substituted for Warner Chappell’s, incorporates an
      assumption: that the discovery rule governs the timeliness
      of copyright claims. We have never decided whether that
      assumption is valid—i.e., whether a copyright claim ac-
      crues when a plaintiff discovers or should have discovered
      an infringement, rather than when the infringement hap-
      pened. See Petrella, 572 U. S., at 670, n. 4. But that issue
      is not properly presented here, because Warner Chappell
      never challenged the Eleventh Circuit’s use of the discovery
      rule below. See supra, at 3; cf. Cutter v. Wilkinson, 544
      U. S. 709, 718, n. 7 (2005) (“[W]e are a court of review, not
      of first view”). And as noted above, a division exists among
      the many Courts of Appeals applying a copyright discovery
      rule (11 at last count) about whether to superimpose a
      three-year limit on damages. See supra, at 3–4; Petrella,
      572 U. S., at 670, n. 4; Pet. for Cert. 4. We therefore con-
      fined our review to that disputed remedial issue, excluding
      consideration of the discovery rule and asking only whether
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      a plaintiff with a timely claim under the rule can get dam-
      ages going back more than three years.1
         The text of the Copyright Act answers that question in
      favor of copyright plaintiffs. The Act’s statute of limitations
      provides in full: “No civil action shall be maintained under
      the provisions of this title unless it is commenced within
      three years after the claim accrued.” §507(b); see supra, at
      2. That provision establishes a three-year period for filing
      suit, beginning to run when a claim accrues—here, we as-
      sume, upon its discovery. And that clock is a singular one.
      The “time-to-sue prescription,” as we have called it, estab-
      lishes no separate three-year period for recovering dam-
      ages, this one running from the date of infringement. Pet-
      rella, 572 U. S., at 686. If any time limit on damages exists,
      it must come from the Act’s remedial sections. But those
      provisions likewise do not aid a long-ago infringer. They
      state without qualification that an infringer is liable either
      for statutory damages or for the owner’s actual damages
      and the infringer’s profits. See §504(a)–(c). There is no
      time limit on monetary recovery. So a copyright owner pos-
      sessing a timely claim for infringement is entitled to dam-
      ages, no matter when the infringement occurred.
      ——————
         1 Disregarding the limit in the reformulated question, Warner Chap-

      pell’s briefing in this Court focuses almost entirely on the discovery rule
      itself. Compare Brief for Petitioners 15–41 and Reply Brief 1–18 (dis-
      puting the discovery rule), with Brief for Petitioners 41–44 and Reply
      Brief 19–21 (assuming the discovery rule’s existence). That choice is es-
      pecially surprising given that Warner Chappell’s own petition for certio-
      rari raised the broader discovery-rule issue only in a footnote, which
      acknowledged that the issue was not raised below and is not the subject
      of a Circuit split. See Pet. for Cert. 14, n. But even supposing Warner
      Chappell’s petition had urged us to opine on the discovery rule, our re-
      formulation of the question presented should have put an end to such
      arguments. “The Court decides which questions to consider through
      well-established procedures; allowing the able counsel who argue before
      us to alter these questions or to devise additional questions at the last
      minute would thwart this system.” Taylor v. Freeland & Kronz, 503 U. S.
      638, 646 (1992).
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                                Opinion of the Court

         The Second Circuit’s contrary view, on top of having no
      textual support, is essentially self-defeating. With one
      hand, that court recognizes a discovery rule, thus enabling
      some copyright owners to sue for infringing acts occurring
      more than three years earlier. And with the other hand,
      the court takes away the value in what it has conferred, by
      preventing the recovery of damages for those older infringe-
      ments. As the court below noted, the three-year damages
      bar thus “gut[s]” or “silently eliminate[s]” the discovery
      rule. 60 F. 4th, at 1333–1334; see supra, at 4. Or said an-
      other way, the damages bar makes the discovery rule func-
      tionally equivalent to its opposite number—an accrual rule
      based on the timing of an infringement.2 As noted above,
      we do not resolve today which of those two rules should gov-
      ern a copyright claim’s timeliness. See supra, at 4. But we
      reject applying a judicially invented damages limit to con-
      vert one of them into the other.
         And we have never before proposed that course. The Sec-
      ond Circuit thought otherwise, relying on language in our
      Petrella decision to support a three-year damages cap.
      Sohm, 959 F. 3d, at 51–52. There we noted, as the Second
      Circuit emphasized, that the Copyright Act’s statute of lim-
      itations allows plaintiffs “to gain retrospective relief run-
      ning only three years back from” the filing of a suit. 572
      U. S., at 672; see id., at 677. Taken out of context, that line
      might seem to address the issue here. But in making that
      statement, we merely described how the limitations provi-
      sion works when a plaintiff has no timely claims for infring-
      ing acts more than three years old. That was the situation
      in Petrella. Because the plaintiff had long known of the de-
      fendant’s infringing conduct, she could not avail herself of
      ——————
        2 Scholars have speculated about “exceptional case[s]” in which a copy-

      right plaintiff could get some benefit out of a discovery rule even when
      combined with a three-year damages bar. 3 M. Nimmer & D. Nimmer,
      Copyright §12.05[B][2][c][ii] (2023). Suffice to say that assuming those
      cases exist at all, they are as rare as hen’s teeth.
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      the discovery rule. Rather, she sued only for infringements
      that occurred in the three years before her suit. The de-
      fendant argued that she could not recover for even that
      much under the doctrine of laches, which protects against
      unreasonable delay in filing suit. We rejected that doc-
      trine’s application, explaining that the Act’s limitations
      provision already “takes account of delay” by—here is the
      language again—allowing the plaintiff “to gain retrospec-
      tive relief running only three years back from” her suit’s fil-
      ing. Id., at 672, 677. But we did not go beyond the case’s
      facts to say that even if the limitations provision allows a
      claim for an earlier infringement, the plaintiff may not ob-
      tain monetary relief. To the contrary: The plaintiff in Pet-
      rella could get damages “running only three years back”
      from filing because she could sue for infringements occur-
      ring only within that timeframe.
         Nealy is in a different situation. He has invoked the dis-
      covery rule to bring claims for infringing acts occurring
      more than three years before he filed suit. And as we have
      explained, we took this case on the assumption that such
      claims may be timely under the Act’s limitations provision.
      See supra, at 4. If Nealy’s claims are thus timely, he may
      obtain damages for them. The Copyright Act contains no
      separate time-based limit on monetary recovery.
         Accordingly, we affirm the judgment below.

                                                         It is so ordered.
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                           GORSUCH, J., dissenting

      SUPREME COURT OF THE UNITED STATES
                                _________________

                                No. 22–1078
                                _________________


            WARNER CHAPPELL MUSIC, INC., ET AL.,
            PETITIONERS v. SHERMAN NEALY, ET AL.
       ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                APPEALS FOR THE ELEVENTH CIRCUIT
                                [May 9, 2024]

         JUSTICE GORSUCH, with whom JUSTICE THOMAS and
      JUSTICE ALITO join, dissenting.
         The Court discusses how a discovery rule of accrual
      should operate under the Copyright Act. But in doing so it
      sidesteps the logically antecedent question whether the Act
      has room for such a rule. Rather than address that ques-
      tion, the Court takes care to emphasize that its resolution
      must await a future case. The trouble is, the Act almost
      certainly does not tolerate a discovery rule. And that fact
      promises soon enough to make anything we might say today
      about the rule’s operational details a dead letter.
         “[O]rdinarily,” this Court has said, a claim “accrues when
      a plaintiff has a complete and present cause of action.” Pet-
      rella v. Metro-Goldwyn-Mayer, Inc., 572 U. S. 663, 670
      (2014) (internal quotation marks and alteration omitted).
      “In other words, the limitations period generally begins to
      run at the point when the plaintiff can file suit and obtain
      relief.” Ibid. (internal quotation marks omitted). We call
      this the “incident of injury rule.” Ibid., n. 4. And we inter-
      pret statutes with that “ ‘standard rule’ ” in mind. Rotkiske
      v. Klemm, 589 U. S. 8, 13 (2019).
         What of the discovery rule? It “starts the limitations pe-
      riod when the plaintiff discovers, or with due diligence
      should have discovered, the injury that forms the basis for
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                          GORSUCH, J., dissenting

      the claim.” Petrella, 572 U. S., at 670, n. 4 (internal quota-
      tion marks omitted). We have said, however, that the rule
      is not “applicable across all contexts.” TRW Inc. v. An-
      drews, 534 U. S. 19, 27 (2001). Far from it: Unless the stat-
      ute at hand directs otherwise, we proceed consistent with
      traditional equitable practice and ordinarily apply the dis-
      covery rule only “in cases of fraud or concealment.” Ibid.
      We have long warned lower courts, too, against taking any
      more “expansive approach to the discovery rule.” Rotkiske,
      589 U. S., at 14; see TRW Inc., 534 U. S., at 27–28.
         There is little reason to suppose the Copyright Act’s pro-
      visions at issue in this case contemplate any departure from
      the usual rules. Section 507(b) provides that “[n]o civil ac-
      tion shall be maintained . . . unless it is commenced within
      three years after the claim accrued.” As the Court observed
      in Petrella v. Metro-Goldwyn-Mayer, Inc., standard lan-
      guage like that calls for the application of the standard in-
      cident of injury rule: “A copyright claim thus arises or ‘ac-
      crue[s]’ when an infringing act occurs,” not at some later
      date. 572 U. S., at 670. What this should mean for the case
      before us seems equally evident: Because everyone agrees
      Sherman Nealy filed suit more than three years after many
      of Warner Chappell’s alleged infringing acts, see ante, at 2,
      some (if not all) of his claims are untimely. Everyone
      agrees, too, that he has not alleged any fraud or conceal-
      ment that would entitle him to equitable tolling. See Brief
      for Petitioners 39; Brief for Respondents 50–51. The dis-
      covery rule thus has no role to play here—or, indeed, in the
      mine run of copyright cases.
         In one sense, the Court’s decision to pass over this com-
      plication may be understandable. After all, none of the par-
      ties before us questioned the application of a discovery rule
      in proceedings below, but joined issue only over how it
      should work. See ante, at 5, n. 1. And the Court may, as it
      does, resolve the parties’ dispute while leaving for another
      day the antecedent question whether a discovery rule exists
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      under the Act. See ante, at 4–5.
        But if that is a permissible course, it does not strike me
      as the most sensible one. Nothing requires us to play along
      with these particular parties and expound on the details of
      a rule of law that they may assume but very likely does not
      exist. Respectfully, rather than devote our time to this case,
      I would have dismissed it as improvidently granted and
      awaited another squarely presenting the question whether
      the Copyright Act authorizes the discovery rule. Better, in
      my view, to answer a question that does matter than one
      that almost certainly does not.
